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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH CAROLINA
                                  ORANGEBURG DIVISION

SHEILA ANN THROWER,                            )      Civil Action No. 5:21-cv-00254-KDW
                                               )
                       Plaintiff,              )
                                               )
         v.                                    )
                                               )                     ORDER
KILOLO KIJAKAZI,                               )
Acting Commissioner of                         )
Social Security Administration,                )
                                               )
                       Defendant.              )


         This matter is before the court on Plaintiff’s Motion for Attorney Fees and Expenses under

the Equal Access to Justice Act (“EAJA”), in the amount of Two Thousand Seven Hundred Sixty

Six and 2/100 Cents ($2,766.02), expenses in the amount of Twenty One Dollars and 15/100 Cents

($21.15) under 28 U.S.C. § 2412(a), (d) of the EAJA. ECF No. 25. In the Acting Commissioner’s

Response she indicates she does not object to the requested amount of EAJA attorney fees and

expenses sought, ECF No. 26. Plaintiff’s Motion is granted in accordance with the terms of this

order.

         It is hereby, ORDERED that Plaintiff, Sheila Ann Thrower, is awarded attorneys fees in

the amount of Two Thousand Seven Hundred Sixty Six and 2/100 Cents ($2,766.02), expenses in

the amount of Twenty One Dollars and 15/100 Cents ($21.15) under 28 U.S.C. § 2412(a), (d) of

the EAJA. These attorneys fees will be paid directly to Plaintiff, Sheila Ann Thrower, and sent to

the business address of Plaintiff’s counsel. Full or partial remittance of the awarded attorney fees

will be contingent upon a determination by the Government that Plaintiff owes no qualifying, pre-

existing debt(s) to the Government. If such a debt(s) exists, the Government will reduce the

awarded attorney fees in this Order to the extent necessary to satisfy such debt(s).
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       IT IS SO ORDERED.




October 21, 2021                                   Kaymani D. West
Florence, South Carolina                           United States Magistrate Judge
